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       5
           Attorney for Debtor(s)
       6
                               UNITED STATES BANKRUPTCY COURT
       7
                               EASTERN DISTRICT OF CALIFORNIA
       8
                                     SACRAMENTO DIVISION
       9
           In re:                         )   Case No.: 2019-21235-D-7
      10                                  )   DCN: GEL-001
           JON ERIK HAJEK AND             )
      11                                  )   NOTICE OF DEATH UPON THE RECORD
           TERRI LYNN HAJEK,              )
      12                                  )   DATE: June 5, 2019
                           DEBTORS        )   TIME: 10:00 a.m.
      13                                  )   JUDGE: Hon. Ronald S. Bardwil
                                          )   LOCATION: 501 I Street
      14                                  )   6th Floor, Courtroom 34
                                          )
                                              Sacramento, CA 95814
      15                                  )

      16                       NOTICE OF DEATH UPON THE RECORD

      17
                 TO: THE US TRUSTEE; THE CHAPTER 7 TRUSTEE, KIMBERLY HUSTED;
      18   ALL CREDITORS AND TO ALL INTERESTED PARTIES:
      19         Pursuant to Federal Rule of Civil Procedure 25(a), counsel

      20
           for the Debtors hereby suggests the death of debtor Jon Erik
           Hajek upon the record.    The exact date of death was March 30,
      21
           2019. Filed concurrently herewith as Exhibit A, is a true and
      22   correct copy of the death certificate (with redactions).
      23

      24   Dated: May 7, 2019

      25                                       BY:   /s/Gabriel Liberman _______
                                                     Gabriel Liberman
                                                     Attorney for debtors


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